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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF FLORIDA
CASE NO.: 15~cv-23009-Lenard/G00dman
JAVIER NUNO,
Plaintiff,
vs.

BRYAN WILLIAMS,

Defendant.
/

NO'I`ICE OF VOLUNTARY DISMISSAL WITHOUT PREJ`UDICE
PLEASE TAKE NOTICE that Plaintiff, JAVIER NUNO, pursuant to Fecl. R. Civ. P.

41(3)(1)@), hereby flies this Notice of Voluntary Dismissal Without Prejudice for the above-

styled cause of action.

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”““"/
Anthony Gefrges-Pierre, 'Esquire
a r att me S.com

Anaeli C. Petisco, Esquire
apetisco@rgpattomeys.com
REMER & GEORGES~PIERRE, PLLC
44 West Flagler Street, Suite 2200
Mia.'mi, Florida 33130
Telephone:(305) 416-500(}
Facsimile: (305) 416~5005
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